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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                               SAN FRANCISCO DIVISION

                                                    Case No. 3:25-cv-2847

COMMUNITY LEGAL SERVICES IN EAST
PALO ALTO,
1861 Bay Road
East Palo Alto, CA 94303, et al.,

                      Plaintiffs,

       v.                                           [PROPOSED] ORDER TO SHOW
                                                    CAUSE TO DENY PRELIMINARY
UNITED STATES DEPARTMENT OF                         INJUNCTION
HEALTH AND HUMAN SERVICES,
200 Independence Avenue, S.W.
Washington, DC 20201, et al.,


                  Defendants.


       Upon reading the accompanying Memorandum of Law, dated March 26, 2025, and

upon all prior pleadings and proceedings had, and good cause being alleged, it is hereby:

       ORDERED that Defendants show cause before this Court, of the United States

District Court for the Northern District of California, located at the Phillip Burton Federal

Building and United States Courthouse, 450 Golden Gate Ave., San Francisco, CA 94102, on

the __ day of _____, 2025, at ___ [a.m./p.m.], or as soon thereafter as counsel can be heard,

why an order should not be issued pursuant to this Court’s inherent powers and pursuant to

Fed. R. Civ. P. 65:

       Enjoining Defendants from interfering with the Trafficking Victims Protection
       Reauthorization Act of 2008 (“TVPRA”), 8 U.S.C. § 1232(c)(5), and the Office of Refugee
       Resettlement’s (“ORR”) Foundational Rule, 45 C.F.R. § 410.1309(a)(4) requirements to
       provide direct legal representation services to unaccompanied children, including by
       cutting off access to congressionally appropriated funding.

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       FURTHER ORDERED that pending a hearing and determination of the Order to

Show Cause, the Cancellation Order shall be enjoined;

       FURTHER ORDERED that service upon Defendants of a conformed copy of this

Order to Show Cause, together with copies of the papers in support thereof, shall be made

upon counsel for Defendants by electronic service through ECF, and email, on or before the

__ day of _____, 2025, shall be deemed good and sufficient service thereof; and it is

       FURTHER ORDERED that Defendants’ opposition papers, if any, shall be served so

as to be received by counsel for Plaintiffs, on or before the __ day of _____, 2025.



                                                    __________________________________
                                                    UNITED STATES DISTRICT JUDGE




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